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                           UNITED STATED DISTRICT COURT
                              DISTRICT OF MINNESOTA

----------------------------------                  x
                                                    :
WEST PUBLISHING CORPORATION,
                                                    :
             Plaintiff / Counterclaim-Defendant,
                                                    :    Civ No. 18-CV-01445 (DSD/ECW)
               v.
                                                    :
LEGALEASE SOLUTIONS, LLC,
                                                    :
             Defendant / Counterclaim-Plaintiff.
                                                    :
----------------------------------                  x

                  MEET AND CONFER STATEMENT FOR
      PLAINTIFF AND COUNTERCLAIM-DEFENDANT WEST PUBLISHING
    CORPORATION’S MOTION TO MODIFY PRETRIAL SCHEDULING ORDER

       I, Scott T. Lashway, representing Plaintiff and Counterclaim-Defendant West Publishing

Corporation, hereby certify that I attempted to meet and confer with LegalEase Solutions, LLC

(“LegalEase”) prior to filing this motion. LegalEase did not respond to my requests to meet and

confer on Friday, February 15, 2019 and Monday, February 18, 2019. I will continue our efforts

to meet and confer with counsel for LegalEase in an attempt to narrow any dispute as to the relief

requested in the Motion to Modify Pretrial Scheduling Order. However, due to the impending

fact discovery deadline of Tuesday, February 19, 2019, I am proceeding with the filing of the

Motion.
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 Dated: February 18, 2019
                                                    /s/ Scott T. Lashway
 Lora Mitchell Friedemann (#0259615)                Scott T. Lashway (pro hac vice)
 Fredrikson & Byron, P.A.                           Holland & Knight LLP
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 (612) 492-7185                                     Scott.Lashway@hklaw.com
 lfriedemann@fredlaw.com
                                                    Attorneys for West Publishing
                                                    Corporation


                                CERTIFICATE OF SERVICE

       I, Scott T. Lashway, hereby certify that on February 18, 2019, this document filed
through the CM/ECF system will be sent electronically to the registered participants as identified
on the Notice of Electronic Filing.

                                                 /s/ Scott T. Lashway
                                                 Scott T. Lashway




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